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      STIP
 1    BRIAN J. SMITH, ESQ.
 2    State Bar Number 11279
      9525 Hillwood Dr., Suite 190
 3    Las Vegas, Nevada 89134
      702-380-8248
 4    Attorney for BARROW
 5
 6                               UNITED STATES DISTRICT COURT

 7                            IN AND FOR THE DISTRICT OF NEVADA
 8    UNITED STATES OF AMERICA,       )
 9                                    )
                       Plaintiff,     )
10                                    )                 Case No.:      2:13-cr-00185-MMD-VCF
      vs.                             )
11                                    )                 STIPULATION TO EXTEND TIME TO
12    ROBERT BARROW,                  )                 REPLY TO GOVERNMENT’S
                                      )                 RESPONSE TO DEFENDANT’S
13         Defendants.                )                 MOTION TO SUPPRESS AND
                                      )                 REQUEST FOR EVIDENTIARY
14                                    )                 HEARING (Doc. #140)
      _______________________________ )
15
16    Certification: This stipulation is filed pursuant to General Order 2007-04.

17           IT IS STIPULATED between the defendant ROBERT BARROW through his
      attorney BRIAN J. SMITH, ESQ., and the United States of America, through CRISTINE
18
      SILVA, Assistant United States Attorney, agree that the deadline to reply to the
19
      government’s response to defendant’s motion to suppress and request for evidentiary
20
      hearing (Doc. #140), and the hearing on said motion be continued to a date and time
21    convenient to this court, but in no event earlier than thirty (30) days.
22           This Stipulation is entered into pursuant to General Order 2007-04 and based
23    upon the following:

24           1.     There have been no previous continuances granted to the defense in this
                    case.
25
             2.     Counsel was appointed on August 28, 2015.
26
             3.     The defense will require more time to complete said reply.
27
             4.     The parties agree to the continuance.
28
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            5.     Denial of this request for continuance would deny the defendant sufficient
 1
                   time to be able to fairly resolve his case, taking into account the exercise of
 2
                   due diligence.
 3          6.     Also, denial of this request or continuance would result in a miscarriage of
 4                 justice.
 5          7.     For the above stated reasons, the parties agree that a continuance of the

 6                 calendar call and trial date would best serve the ends of justice in this case.
            8.     The additional time requested by this stipulation is excludable in computing
 7
                   the time within which the trial herein must commence pursuant to the
 8
                   Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), considering the factors under
 9
                   18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
10          9.     This is the first request for a continuance.
11          DATED this 4th day of September, 2015.
12
13    RESPECTFULLY SUBMITTED BY:

14
      ____/s/_Cristine Silva_____                       ___/s/ Brian J. Smith________
15    CRISTINE SILVA                                    BRIAN J. SMITH
16    Assistant United States Attorney                  Attorney for BARROW

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 1
 2
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 3    BRIAN J. SMITH, ESQ.
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 4    9525 Hillwood Dr., Suite 190
      Las Vegas, Nevada 89134
 5    702-380-8248
 6    Attorney for BARROW

 7
                                UNITED STATES DISTRICT COURT
 8
                             IN AND FOR THE DISTRICT OF NEVADA
 9
10    UNITED STATES OF AMERICA,       )
                                      )
11                     Plaintiff,     )
                                      )                Case No.:    2:13-cr-00185-MMD-VCF
12
      vs.                             )
13                                    )                STIPULATION TO EXTEND TIME TO
      ROBERT BARROW,                  )                REPLY TO GOVERNMENT’S
14                                    )                RESPONSE TO DEFENDANT’S
           Defendants.                )                MOTION TO SUPPRESS AND
15                                    )                REQUEST FOR EVIDENTIARY
16                                    )                HEARING (Doc. #140)
      _______________________________ )
17
18
                                         FINDINGS OF FACT
19
20           Based upon the submitted Stipulation, and good cause appearing therefore, the

21    Court finds that:
             1.     Counsel was appointed on August 28, 2015.
22
             2.     The defense will require additional time to prepare reply.
23
             3.     This stipulation complies with General Order 2007-04.
24
25                                    CONCLUSIONS OF LAW
26
             1.     Denial of this request for continuance would deny the defense herein
27                  sufficient time and the opportunity within which to be able to effectively and
28

                                                   3
     Case 2:13-cr-00185-MMD-VCF       Document 151         Filed 09/09/15   Page 4 of 4



                  thoroughly research and prepare this case, taking into account the exercise
 1
                  of due diligence.
 2
            2.    Additionally, denial of this request for continuance would result in a
 3                miscarriage of justice.
 4          3.    For all of the above stated reasons, the ends of justice would best be
 5                served by a continuance of the trial date, and such continuance outweighs

 6                the best interest of the public and the defendant to a speedy trial.
            4.    The additional time requested by the stipulation, is excludable in computing
 7
                  the time within which the trial herein must commence pursuant to the
 8
                  Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), considering the factors under
 9
                  18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
10          5.    This is the first request for a continuance.
11
12
                                               ORDER
13
            IT IS ORDERED that the reply deadline currently scheduled August 30, 2015, at
14                             October 8, 2015
      be vacated and reset to ____________.
15          IT IS SO ORDERED:
16                                            ____________________________________
                                              UNITED STATES DISTRICT JUDGE
17                                                             Magistrate
                                                       September 8, 2015
18                                            DATED: _____________________________
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